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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSEPH HENKEL, : CIVIL ACTION
Plaintiff
V. : No.
THE HOME DEPOT, INC.,
Defendant JURY TRIAL DEMANDED
COMPLAINT

The Plaintiff, Joseph Henkel, by and through his attorneys, Dougherty, Leventhal &

Price, L.L.P., hereby complains against the above-named Defendant and states as follows:
THE PARTIES

1, The Plaintiff, Joseph Henkel, is an adult and competent individual and is a citizen
of the Commonwealth of Pennsylvania, residing at 1114 The Hideout, Lake Ariel, PA 18436-
9759.

2. The Defendant, The Home Depot, Inc. (HOME DEPOT), is a corporation that is
incorporated outside the Commonwealth of Pennsylvania, with a principal place of business
located at 2455 Paces Ferry Road, N.W., Atlanta, GA 30339-4024.

JURISDICTION

3. Jurisdiction is based on 28 U.S.C.§1332(a)(1) in that Plaintiff's claims involve a

controversy between an entity and/or citizens of different states, and the amount in controversy

exceeds seventy-five thousand dollars ($75,000.00).
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FACTUAL BACKGROUND OF ACCIDENT

4. HOME DEPOT is a retail seller of home improvement goods to the public and
operates throughout the United States of America.

5. On March 8, 2018, HOME DEPOT owned and operated a retail store
(HONESDALE STORE) located at 721 Old Willow Avenue, Honesdale, Wayne County, PA
18431.

6. On March 8, 2018, HOME DEPOT displayed multiple storage sheds in the
parking lot of its HONESDALE STORE, including a single shed with a model name “Summer
Wind.” HOME DEPOT displayed all of these sheds for the purpose of selling them to the
public.

7. At all relevant times, the HONESDALE STORE, its parking lot and the sheds
referenced above were under the care, custody and control of HOME DEPOT.

8. HOME DEPOT knew and expected that members of the public would enter the
sheds displayed in the parking lot of its HONESDALE STORE in order to examine the sheds for
possible purchase. In fact, on March 8, 2018, HOME DEPOT maintained a display of sale
brochures inside the “Summer Wind” shed.

9. On March 8, 2018, the “Summer Wind” shed sat on top of cinderblocks. These
cinderblocks in turn sat on top of the asphalt surface of the parking lot. The entrance/exit step of
the “Summer Wind” shed (i.e., the difference between the top of the parking lot surface and the

floor of the shed) measured eleven and five-eighths inches (11 and 5/8"). There was no handrail

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or other assistive device to aid customers upon entering or exiting the “Summer Wind” shed.

10. On March 8, 2018, HOME DEPOT allowed an accumulation of snow and ice to
exist on the parking lot surface outside the entrance/exit door of the “Summer Wind” shed.

11. Onthe morning of March 8, 2018, Plaintiff Joseph Henkel visited the
HONESDALE STORE for the purpose, inter alia, of possibly purchasing a shed.

12. At all relevant times, Plaintiff Joseph Henkel qualified as a business invitee of
HOME DEPOT.

13. After entering the “Summer Wind” shed, Plaintiff Joseph Henkel attempted to
exit (i.e., step down from) the shed, and he slipped on the accumulated snow and ice and fell onto
the asphalt pavement surface of the parking lot.

14. Plaintiff Joseph Henkel sustained severe, painful and permanent injuries,
including a left tibia fracture, a torn medial meniscus in his left knee, and aggravation of pre-
existing spine degeneration.

COUNT I - NEGLIGENCE

JOSEPH HENKEL, PLAINTIFF

 

V.
THE HOME DEPOT, INC., DEFENDANT
15. The Plaintiff incorporates paragraphs 1 through 14 above as fully as if the same
were set forth at length herein.

16. HOME DEPOT was negligent as follows:

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(a) creating an entrance/exit step for its “Summer
Wind” shed with an excessive and dangerous height
that measured eleven and five-eighths inches
(11 and 5/8");

(b) failing to provide a handrail or other assistive
device to aid customers upon entering or exiting the
“Summer Wind” shed;

(c) failing to inspect the surface of the parking lot in
front of the entrance/exit door of its “Summer
Wind” shed; and

(d) failing to take reasonable measures to remove the
accumulation of ice and snow in front of the
entrance/exit door of its “Summer Wind” shed.

17. The negligence of HOME DEPOT caused Plaintiffs accident and injuries.

18.  Asaresult of the Defendant’s negligence, Plaintiff Joseph Henkel required
medical care and treatment and incurred medical expenses for his care and treatment, and
Plaintiff believes that he may require additional medical care and treatment in the future and may
incur future medical costs.

19. As aresult of the Defendant’s negligence, Plaintiff Joseph Henkel endured
physical and mental pain and suffering, and he will continue to endure physical and mental pain
and suffering for an indefinite period of time into the future.

20.  Asaresult of the Defendant’s negligence, Plaintiff Joseph Henkel suffered

embarrassment and humiliation, and he will continue to suffer embarrassment and humiliation

for an indefinite period of time into the future.
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21. Asaresult of the Defendant’s negligence, Plaintiff Joseph Henkel suffered a loss
of ability to enjoy the ordinary pleasures of his life, and he may suffer a loss of ability to enjoy
the ordinary pleasures of his life for an indefinite period of time into the future.

WHEREFORE, Plaintiff Joseph Henkel respectfully requests that the Court enter
judgment in his favor against the Defendant for compensatory damages in excess of seventy-five
thousand dollars ($75,000.00), plus costs and delay damages pursuant to Pennsylvania Rule of

Civil Procedure 238.

DOUGHERTY, LEVENTHAL & PRICE, L.L.P.

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